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   A0 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations
              Sheet 1



                                      UNITED STATES DISTRICT COURT
                             MIDDLE                              District of                             ALABAMA

          UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                     V.                                                 (For Revocation of Probation or Supervised Release)


      ALPHONSO CLEMENTE BATTLE                                          Case Number:                     2:99cr1 12-WHA-00 1
                                                                        USM Number:                      10526-002
                                                                                          Michael Petersen
                                                                        Defendant's Attorney
THE DEFENDANT:
X admitted guilt to violation of condition(s) 1 - 4 of the Amended Petition               of the term of supervision.
0 was found in violation of condition(s)                                             after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                 Nature of Violation                                                          Violation Ended
         1                       Failure to refrain from committing a federal, state or local crime                1/30/08
        2                        Failure to refrain from illegally possessing a controlled substance               1/30/08
        3                        Failure to submit a truthful and complete written report each month               1/30/08
        4                        Failure to refrain from associating with persons engaged in criminal
                                   activity and from associating with any person convicted of a felony               1/30/08


       The defendant is sentenced as provided in pages 2 through               2     of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has not violated condition(s) ____________________ and is discharged as to such violation(s) condition.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

Defendant's Soc. Sec. No.:            ***..**..227 1                                   February 26, 2008
                                                                        Date of Imposition of Judgment
Defendant's Date of Birth:            1973

                                                                        Signature Ju ge
Defendant's Residence Address:

      Montgomery, AL 36116
                                                                        W. Harold Albritton, Senior United States District Judge
                                                                        Name and Title of Judge



                                                                        Date (
                                                                               2/2 %
Defendant's Mailing Address:
          Montgomery, AL 36116
                 Case 2:99-cr-00112-WHA-WC Document 114 Filed 02/26/08 Page 2 of 2

A0 245D      (Rev. 12103 Judgment in a Criminal Case for Revocations
             Sheet 2— Imprisonment

                                                                                           Judgment - Page     2     of   2
DEFENDANT:                    ALPHONSO CLEMENTE BATTLE
CASE NTJMBER:                 2:99cr1 12-WHA-001


                                                             IMPRISONMENT

        The defendant is hereby conmiitted to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
40 months. This sentence shall be served consecutively to any other sentence which might be imposed by a state
court based on any actions involved in this case.
It is ORDERED that the term of supervised released imposed on April 21, 2000, is REVOKED.
The court has taken into consideration the policy statements in Chapter 7 of the Guidelines Manual, the guideline
range, and all relevant information in imposing the sentence at 40 months.

   LI The court makes the following recommendations to the Bureau of Prisons:




   X The defendant is remanded to the custody of the United States Marshal.

   LI The defendant shall surrender to the United States Marshal for this district:

          D at                                     LI a.m. LI p.m. on

          LI as notified by the United States Marshal.

   0 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          LIbefore 2 p.m. on ___________________________

          LI as notified by the United States Marshal.

       0 as notified by the Probation or Pretrial Services Office.

                                                                       RETURN
I have executed this judgment as follows:




       Defendant delivered on                                                   to

a____________________________________ with a certified copy of this judgment.




                                                                                        UNITED STATES MARSHAL


                                                                          By
